
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 19th day of April 2007 in this matter pursuant to G.S. 7A-30 (based upon a Dissent), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed by order of the Court in conference, this the 18th day of May 2007."
Upon consideration of the petition filed on the 19th day of April 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 18th day of May 2007."
